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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


CHRISTOPHER SMITH,         )
                           )
     Plaintiff,            )
                           )                    CIVIL ACTION NO.
     v.                    )                      2:20cv743-MHT
                           )                           (WO)
ALA. DEPT. OF CORRECTIONS, )
et al.,                    )
                           )
     Defendants.           )

                              OPINION AND ORDER

       This    lawsuit         is    before     the       court     on    the

recommendation of the United States Magistrate Judge

that    the    case     be     transferred    to    the    United    States

District      Court     for    the   Northern      District   of    Alabama

pursuant      to   28    U.S.C.      §   1404(a).          There    are    no

objections to the recommendation.                  After an independent

and de novo review of the record, the court concludes

that the magistrate judge’s recommendation should be

adopted.

       Accordingly, it is ORDERED as follows:

       (1) The magistrate judge's recommendation (doc. no.

3) is adopted.
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    (2) This case is transferred to the United States

District   Court   for   the    Northern       District   of    Alabama

pursuant to 28 U.S.C. § 1404(a).

    (3) Any pending motion is left for resolution by

the transferee court.

    The    clerk    of   the    court     is    DIRECTED       to     take

appropriate steps to effect the transfer.

    This case is closed in this court.

    DONE, this the 19th day of October, 2020.

                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
